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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 HAWAII CARPENTERS TRUST       )              CV 21-00220 LEK-RT
 FUNDS, ET AL. ,               )
                               )
           Plaintiffs,         )
                               )
      vs.                      )
                               )
 REDMONT CONSTRUCTION,         )
 LLC, ET AL. ,                 )
                               )
           Defendants.         )
 _____________________________ )

                  ORDER ADOPTING MAGISTRATE JUDGE’S
                    FINDINGS AND RECOMMENDATION

       Findings and Recommendation having been filed on October 26, 2021 and

 served on all parties on October 27, 2021, and no objections having been filed by

 any party,

       IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

 United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the "Findings and

 Recommendation to Grant Plaintiffs’ Motion for Entry of Default Judgment

 Against Redmont Construction, LLC", ECF No. 18 are adopted as the opinion and

 order of this Court.

       IT IS SO ORDERED.
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       DATED AT HONOLULU, HAWAII, November 15, 2021.



                                                  /s/ Leslie E. Kobayashi
                                                  Leslie E. Kobayashi
                                                  United States District Judge
